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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

DASHA LONG, Individually and on behalf               :
of her minor children, M.L., and L.L.,               :
as mother and general guardian                       :
                                                     :
       Plaintiffs                                    :
                                                     :
v.                                                   :      Case No. 1:21-cv-00881 (ACR)
                                                     :
GABLES RESIDENTIAL SERVICES, INC.                    :
                                                     :
and                                                  :
                                                     :
BERKSHIRE APARTMENTS, LLC                            :
                                                     :
       Defendants.                                   :


       NOTICE OF WITHDRAWAL OF APPEARANCE OF CATHERINE CONE
                      ON BEHALF OF PLAINTIFFS

       Pursuant to LCvR 83.6(b), please take notice that attorney Catherine Cone, hereby

submits her Withdrawal of Appearance as counsel for Plaintiffs Dasha Long and her minor

children, M.L. and L.L. in the above captioned matter. K&L Gates LLP attorney Brian Koosed

will remain as counsel of record for Plaintiffs, and an additional attorney from the Washington

Lawyers’ Committee will shortly join the case as counsel of record for Plaintiffs.

       There is good cause for this motion. As of August 28, 2023, Catherine Cone will no

longer employed by the Washington Lawyers’ Committee.

Dated: August 25, 2023

Respectfully submitted:

                                             __/s/ Catherine Cone______        ___
                                             Catherine Cone (D.C. Bar No 1032267)
                                             (catherine_cone@washlaw.org)
                                             Washington Lawyers’ Committee for Civil
                                             Rights and Urban Affairs
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                           Washington, DC 20005
                           Telephone: 202-319-1000
                           Fax: 202-319-1010

                           Counsel for Plaintiffs
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of August 2023, a copy of the foregoing

Notice of Entry of Appearance was filed electronically using the ECF system and served on all

parties of record through ECF.

                                                          /s/ Catherine Cone
                                                          Catherine Cone

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